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March 26, 2019
Via ECF

Hon. Leda Dunn Wettre, U.S.M_.J.

U.S, District Court

M. L. King, Jr. Federal Building & Courthouse
50 Walnut St., Room 2A

Newark, NJ 07102

Re: Roofers’ Pension Fund v. Papa and Perrigo Company PLC
Civil Action No. 2:16-cv-2805 (MCA})(LDW)
Scheduling of Class Certification Briefing

Dear Judge Wettre:

This firm, together with Fricd, Frank, Harris, Shriver & Jacobson LLP, represents
defendant Perrigo Company ple in the above-referenced matter. We write on behalf of all parties
lo request an amendment to the remainder of the briefing schedule related to Lead Plaintiff's
motion for class certification because of the need to complete certain discovery relating to the
class certification. The initial schedule was set forth in ECF 168, filed December 11, 2018.

We have conferred with counsel for Lead Plaintiff who has authorized us to state that
Lead Plaintiff agrees with the amended bricting schedule as set forth below.

 

Brief ' Current Due Date Proposed Due Date

 

 

Defendants’ Response to Lease | March 29, 2019 April 17, 2019
Plaintiff's Motion for Class Certification

 

Lead Plaintiffs Reply in Further Support | May 17, 2019 June 5, 2019
of its Motion for Class Certification

 

 

 

 

 
 

 

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Hon. Leda Dunn Wettre, U.S.D.J.
Mareh 26, 2019
Page 2

The parties respectfully request that if the amended schedule set forth above is
acceptable, the Court “So Order” this letter below.
Thank you for your time and consideration.

Respectfully-yours,

tails Naar
ASN:cd
cc: All counsel of record (via ec/)

ap
So Ordered on this ~ day of March, 2019

Aide Dun. Atos

(Hon. Leda Dunn Wettre, U.S.M.J.
